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                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION


        CYWEE GROUP LTD.,           )
                 Plaintiff,         )
                                    )     Civil Action No.
        v.                          )     2:17-cv-00495-WCB-RSP
                                    )
        HUAWEI DEVICE CO. LTD.,     )     JURY TRIAL DEMANDED
        HUAWEI DEVICE (DONGGUAN) )
        CO. LTD., AND HUAWEI DEVICE )
        USA, INC.,                  )
                    Defendants.     )
                                    )


               HUAWEl'S REPLY IN SUPPORT OF MOTION TO STAY
               CYWEE'S CLAIMS AGAINST THE GOOGLE NEXUS 6P
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                                        INTRODUCTION

         CyWee's opposition is notable for what it does not do. Huawei's motion showed that:

  • The source code for the accused Nexus 6P functionality comes from Google, not Huawei,
    and Huawei's witnesses cannot testify about how it works;
  • CyWee chose to face two trials in two jurisdictions, making the question here whether claims
    against the Nexus 6P should be tried once (in Delaware) or twice (there and here); and
  • A stay will increase judicial efficiency, because witnesses from Google, not Huawei, must
    testify about the accused functionality of the Nexus 6P.

  CyWee does not rebut or even address any of these points. Instead, CyWee asserts a hardware-

  centric argument the Federal Circuit previously rejected in the Rockstar decision, and which this

  Court should likewise reject here. CyWee then argues that this Court cannot issue a stay because

  Huawei has not agreed to be bound by the Nexus 6P claims in the Delaware action, but Huawei

  does so below. Finally, CyWee attempts to assert prejudice based on a possible delay of claims

  regarding the Google Nexus 6P, which is insufficient under the law and not credible in light of

  CyWee's dilatory prosecution of claims in serial infringement actions. For these reasons and

  those set forth in Huawei's motion, the Court should stay CyWee's claims against the Nexus 6P.

                                           ARGUMENT

  I.     The Federal Circuit Squarely Rejected CyWee's Hardware Argument in Rockstar

         CyWee first argues that, because its allegations touch hardware as well as software, the

  customer-suit exception cannot apply and its claims must remain before this Court. Opp. at 5-6.

  But the Federal Circuit rejected the same argument in In re Google Inc., 588 F. App'x 988 (Fed.

  Cir. 2014) ("Rockstar"), on facts more favorable to the patentee. See Mot. at 10-11. This Court

  should follow Rockstar and stay the Nexus 6P claims.

         CyWee's argument depends on its assertion that, because "CyWee does not allege

  infringement based solely on an algorithm or software claim," and its "allegations are not


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  focused entirely on the software," necessarily "the customer-suit exception does not apply here."

  Opp. at 5-6 (emphasis added). CyWee claims its allegations run against "various physical,

  mechanical, and software features, all ofwhich, when combined, infringe the patents," implying

  it has focused heavily or even equally on hardware. Id. at 5. This implication cannot survive

  scrutiny ofCyWee's infringement contentions, which gloss over hardware in favor oflengthy

  discussion ofsoftware. To allege infringement ofclaims requiring a "six-axis motion sensor,"

  CyWee states only that accused devices "include[] an accelerometer and gyroscope" (Mot. Ex. 1

  at 6-7, 11-12); similarly, to allege infringement ofclaims requiring a "nine-axis motion sensor

  module," CyWee states only that accused devices "include[] a 3-axis gyroscope, a 3-axis

  accelerometer, and a 3-axis magnetometer." Id. Ex. 7 at 13. CyWee does not specify anything

  further, and any accelerometer, gyroscope or magnetometer will do. 1 Every other element in

  CyWee's infringement contentions accuses software from Google's Android Open Source

  Project.2 CyWee's allegations do not run equally against "various physical, mechanical, and

  software features"; they focus almost entirely on software, giving hardware barely a glance. 3

           The Federal Circuit in Rockstar confronted and dismissed the same argument, on facts

  more favorable to the patentee. Plaintiff Rockstar relied in part on "each defendant mobile

  phone manufacturer's ability to modify and customize the Android platform to its own particular

  purpose" (Rockstar, 588 F. App'x at 990); here, the Nexus 6P is the same in both actions. There,

  two patents were exclusive to hardware and had no software elements (id.); here, both patents


           1
             Id. Ex. 1 at 6-7, 11-12; Ex. 2 at 6-7, 8-9; Ex. 3 at 6-7, 8-9; Ex. 4 at 6-7, 8-9; Ex. 5 at 6-7, 8-9; Ex. 6 at 6-7,
  8-9; Ex. 7 at 13; Ex. 8 at 11; Ex. 9 at 11; Ex. 10 at 11; Ex. 11 at 11; Ex. 12 at 11.
           2
             Id. Ex. 1 at 4, 8-10, 13-15, 17-22, 24-41; Ex. 4 at 4, 7, 9, 11-14, 16-32; Ex. 7 at 4-12, 14-19; Ex. 10 at
  4-10, 12, 13.
           3
             Unsurprisingly, CyWee takes the same view in its action against Google. Opposing Google's motion to
  dismiss in Delaware, for example, CyWee characterizes claim 14 of the '438 patent as mapping "directly" onto
  Figure 14, which does not mention hardware. Cy Wee Grp. Ltd v. Google LLC, No. 18-571, Docket. No. 17 at 5
  (D. Del. Apr. 16, 2018), attached as Exhibit 17. CyWee further asserts that claim will apply even if the
  "gyroscopes" (now plural) are replaced with "other rotation sensors," confirming hardware's irrelevance. Id.
                                                             -2-
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  focus largely on software. Even on those facts, the Rockstar Court found that because plaintiff's

  infringement contentions "rely almost exclusively on the underlying functionalities provided in

  the base Android source code provided by Google," as a result, "the record strongly suggests

  there will be substantial similarity involving the infringement and invalidity issues in all the

  suits." Id. To support a stay, a manufacturer action need not resolve all issues in a customer suit;

  instead, Google's declaratory claims need only concern "substantially the same controversy" and

  resolve "major premises" of CyWee's claims on the identical patent claims and against the

  identical device here. Id. at 989-991. That is so, and CyWee does not contend otherwise.

  II.      Although the Law Does Not Require it, Huawei Voluntarily Agrees to be Bound
           By the Delaware Court's Findings on Infringement of the Google Nexus 6P

           CyWee argues that the customer-suit exception "could never apply here" because

  "Huawei has not agreed to be bound by a decision" in Delaware. Opp. at 4. CyWee's cases say

  no such thing.4 In any event, CyWee did not raise this issue before Huawei filed its motion; now

  that CyWee has done so, if this Court stays CyWee's claims regarding the Nexus 6P, Huawei will

  voluntarily agree to be bound by the outcome of the Delaware action regarding alleged

  infringement of the Google Nexus 6P. (CyWee and Huawei must continue litigating invalidity of

  the asserted patents in this action, as Huawei does not seek a stay of all claims before this Court.)


           4
              In Kahn v. Gen. Motors Corp., the Federal Circuit held that the customer-suit exception did not apply
  based on a number of factors, including that the plaintiff ''would still have to relitigate the question of infringement
  against General Motors, and perhaps also of validity"; "the measure of General Motors' obligation for damages and
  Motorola's (if any) involve different parameters"; "injunction against General Motors is not available"; and
  "[w]hether Motorola's 'technology' is used in the AM stereo receivers manufactured and sold by General Motors is
  pertinent only if Motorola would be liable, under law, for infringement." 889 F.2d 1078, 1081-82 (Fed. Cir. 1989).
  None of these factors are present here. And, as the Federal Circuit explained in Spread Spectrum, it later expressly
  clarified and limited Kahn: "In a subsequent decision, however, we clarified that the manufacturer's case need only
  have the potential to resolve the 'major issues' concerning the claims against the customer-not every issue-in
  order to justify a stay of the customer suits." Spread Spectrum Screening LLC v. Eastman Kodak Co., 657 F.3d
  1349, 1358 (Fed. Cir. 2011) (further noting that "Kahn was primarily concerned with injunctive relief, which is not
  at issue here."). In Geo Tag v. Georgio Armani Spa et al., the District Court likewise considered numerous factors
  but ultimately concluded that "[b]ased primarily on considerations ofefficiency, the Court finds it improper to stay
  the first-filed customer suits in light of the later-filed declaratory action." No. 10-569, 2012 WL 12829997, at *4
  (E.D. Tex. Aug. 27, 2012) (emphasis added).
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  III.     The Customer-Suit Rule Applies Here, as CyWee's Authorities Confirm

           CyWee supports its faulty factual arguments with equally faulty law, arguing that this

  Court must rely on three specific factors to determine whether the customer-suit exception

  applies: whether Huawei is a "mere reseller"; whether Huawei agrees to be bound; and whether

  Huawei is the sole source ofthe accused product. Opp. at 4 (citing Vantage Point Tech., Inc. v.

  Amazon.com, Inc., No. 13-909, 2015 WL 123593, at *2 (E.D. Tex. Jan. 6, 2015)). But, as

  CyWee's sole cited authority confirms, CyWee misunderstands the Circuit law governing this

  inquiry, which expressly rejects such a rigid approach. "The way to avoid wasted resources is

  not through such a 'mechanical solution' or 'precise rule," but "is instead through a flexible

  approach, including staying proceedings ifthe other suit is so closely related that substantial

  savings oflitigation resources can be expected." Rockstar, 588 F. App'x at 991 (holding that the

  significant overlap in issues ''undermines the district court's main premise in rejecting a

  stay"-namely, that each defendant was not a "mere reseller" because they were able to modify

  and customize the Android platform). Vantage Point itselffollowed this line oflaw, finding that

  parties before it "are not 'mere resellers "' and that their "their agreement to be bound by the

  technical operation is likewise insufficient," but nonetheless concluding that "considerations of

  judicial efficiency should govern the Court's actions and that greater efficiency can be gained by

  severing and transferring portions ofthese cases." Vantage Point, 2015 WL 123593, at 5. 5 As

  Huawei explained in its motion, judicial efficiency supports stay here, so these claims will be

  tried only once, instead oftwice as CyWee evidently prefers. Mot. at 9.


           5
             As to other defendants, the Vantage Point Court denied stay or transfer on judicial efficiency facts not
  present here: for example, the Court found that for certain defendants, there was "no 'second-filed' case in a
  different forum. Instead, both the consumer and manufacturer have pending cases in the same forum, and those
  cases have been consolidated for all pretrial matters," (id. at 3), and that "the act of consolidation advances the very
  same goals that the consumer-suit exception seeks to advance: judicial efficiency" (id. (citing Tegic Commc 'ns Corp.
  v. Bd. ofRegents of Univ. of Tex. Sys., 458 F.3d 1335, 1343 (Fed. Cir. 2006))).
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  IV.     CyWee Cannot Claim Prejudice, and Has Delayed Its Own Trials Several Times

          As Huawei explained, a stay of the Nexus 6P claims would benefit, not prejudice,

  CyWee. See Mot. at 8-9. In response, CyWee makes only the anemic assertion of prejudice

  because "the Delaware Action will undoubtedly take considerably longer to resolve than the

  instant case." Opp. at 7. But a plaintiff's interest in timely enforcement is "present in every case

  in which a patentee resists a stay, and it is therefore not sufficient, standing alone, to defeat a stay

  motion." NFC Tech. LLCv. HTC Am., Inc., No. 13-1058, 2015 WL 1069111, at *2 (E.D. Tex.

  Mar. 11, 2015). CyWee makes no other argument for prejudice, dooming that one.

          CyWee's own behavior similarly undercuts its prejudice claim. CyWee waited until April

  2018 to sue Google in Delaware, necessarily accepting that Court's trial schedule, and should not

  now claim prejudice because it cannot try the Nexus 6P twice. CyWee has sought no discovery

  from Google in this action, and thus has lost no time learning how the device works. See Deel.

  of Hongyu Li , 2. Finally, CyWee has repeatedly extended trial dates in its various actions on

  these patents (including this one), showing its view that delay is not prejudice. 6 In short, CyWee

  has presented no prejudice at all, let alone one that can overcome Huawei's showing for stay.

                                                 CONCLUSION

          For the foregoing reasons and those set forth in Huawei's motion, the Court should stay

  CyWee's claims regarding the Google Nexus 6P until final resolution of Cy Wee Grp. Ltd.v.

  Google LLC, No. 18-571, in the District of Delaware.

  Date: July 24, 2018                                 Respectfully submitted,


                                                         /s/ J. Mark Mann
                                                      J. Mark Mann (Bar No. 12926150)
          6
             See Docket No. 70 (delaying trial by three months and two weeks); Cy Wee Grp. Ltd. v. HTC Co,p. et al.,
  No. 17-932, Docket No. 97 (W.D. Wash. July 17, 2018) (same by three months), attached as Exhibit 18; Cy Wee G,p.
  Ltd. v. Samsung Elecs. Co., Ltd. et al., No. 17-140, Docket No. 92 (E.D. Tex. May 9, 2018) (same by four months).
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                                                mark@themannfirm.com
                                                G. Blake Thompson (Bar No. 24042033)
                                                blake@themannfirm.com
                                                MANN TINDEL THOMPSON
                                                300 West Main Street
                                                Henderson, Texas, 75652
                                                + 1 (903) 657-8540
                                                + 1 (903) 657-6003 facsimile

                                                Steven D. Moore (CA Bar No. 290875)
                                                smoore@kilpatricktownsend.com
                                                Kristopher L. Reed (CA Bar No. 290875)
                                                kreed@kilpatricktownsend.com
                                                Benjamin M. Kleinman-Green
                                                (CA Bar No. 261846)
                                                bkleinman-green@kilpatricktownsend.com
                                                KILPATRICK TOWNSEND & STOCKTON LLP
                                                Two Embarcadero Center, Suite 1900
                                                San Francisco, California, 94111
                                                +1 (415) 576-0200
                                                +1 (415) 576-0300 facsimile

                                                Matthew S. Warren (CA Bar No. 230565)
                                                Elaine Y. Chow (CA Bar No. 194063)
                                                (admitted pro hac vice)
                                                17-495@cases.warrenlex.com
                                                WARREN LEX LLP
                                                2261 Market Street, No. 606
                                                San Francisco, California, 94114
                                                +1 (415) 895-2940
                                                +1 (415) 895-2964 facsimile

                                                Attorneys for Defendants Huawei Device Co. Ltd.,
                                                Huawei Device (Dongguan) Co. Ltd., and Huawei
                                                Device USA, Inc.


                                  CERTIFICATE OF SERVICE

         I certify that on July 24, 2018, I served the foregoing by notice of electronic filing on

  counsel of record registered as CM/ECF users.


                                                 /s/ J. Mark Mann
                                                J. Mark Mann

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